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02-592 Warsaw, Flat 23, 54/56 Putawska Street
tel./fax (22) 646-03-41, mobile 0-604-415-617

CERTIFIED TRANSLATION FROM POLISH

Katarzyna Pawlak, M.A., Sworn Translator of English

 

 

 

 

 

 

 

 

  

[The State Emblem of Poland. ]

UBLIC OF POLAND
MINISTER OF JUSTICE
Warsaw, 8 April 2010
i PG V Oz 135/10/E

Ms
Hillary Clinton
Secretary of State
United States of America

Pursuant to Article 1, Article 2 sections 1 and 2 and Article 12 of the Agreement
between the Republic of Poland and the United States of America on Extradition, drawn-up in
Washington on 10 July 1996, and pursuant to Article 5 section 2 of the Agreement between
the United States of America and the European Union on Extradition, drawn-up in
Washington on 25 June 2003, please find enclosed - including a translation to English - a
request of the Circuit Prosecutor in Suwatki, ref. no. 1 Oz 26/10 dated 10 March 2010, for
temporary detention and extradition of Polish citizen, Wiestaw Jan Koztowski, suspected of
commitment of the offence classified in Article 278 paragraph 1 of the Penal Code, together
with the required documents.

- Sharing the position expressed in the request, please grant the request a positive
consideration.

) | . [signature illegible]
| Krzysztof Kwiatkowski

[Round seal with the Polish State Emblem and the inscription:
“Minister of Justice, 2 “J

 

 

 

 

 

 

 

 

I, the undersigned, Katarzyna Pawlak, a Sworn Translator of English in Warsaw, entered in the list of Sworn Translators,
g kept by the Minister of Justice, entry no, TP/4657/05, hereby certify that the attached translation is a true and correct
translation of the document submitted to me in Polish,
Warszw, date: 14 April 2010 j
Register No. 281/2010 fy (/ (
HY
Katarzyna Pawlak, M.A.
Sworn Translator

    
  
 
 

Fee of PLN 30.07 collected for ] standard page according to the binding regulations.

 
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_ Katarzyna Pawlak, M.A., Sworn Translator of English
02-592 Warsaw, Flat 23, 54/56 Putawska Street
tel./fax (22) 646-03-41, mobile 0-604-415-617

CERTIFIED TRANSLATION FROM POLISH

  

 

[The State Emblem of Poland.]
CIRCUIT PROSECUTOR’S OFFICE
in Suwatki «

 

 

16-400 Suwatki, 26 Putaskiego Street
tel./fax: (0-87) 5677 888, switchboard: 5677 571

 

 

 

Suwatki, 10 March 2010

- 1 Oz 26/10
* Circuit Prosecutor’s Office
in Suwatki

REQUEST
for temporary detention and extradition

I request temporary detention and extradition of:

Wiestaw Jan Koztowski

son of Frydrych and Halina née Sztejter,

born on 9 November 1966 in Rajgréd,

recently residing in Augustow, Osiedle Srédmiescie 28/23

The evidence material gathered in case ref. no. V Ds. 37/96, conducted by. the
Circuit Prosecutor’s Office in Suwatki constituted the grounds for an issue of a
decision on submission of charges to Wiestaw Jan Kozlowski,

for the following:

 

_I. on 27 July 1995, while serving as a Police officer in the territory of the District
Police Headquarters in Augustéw, while accepting, as material evidence for
preliminary proceedings, from a STAR truck, registration number TYC 3541, ofa
cargo of detained and secured cigarettes originating from smuggling, acting jointly and
in co-operation with other identified persons, he took, for the purpose of appropriation,
at least 1,000 cartons, containing 10 packets each, of GOLDEN AMERICAN, HB and
other cigarettes, with a value of at least PLN 28,000, and then he helped with their
transportation from the territory of the District Police Headquarters in Augustéw and
their resale to Jan Haraburda for the amount of PLN 10,000, thus acting to the
detriment of the State Treasury,

  
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Il. on 3 September 1995, while serving as a Police officer in the territory of the District
Police Headquarters in Augustéw, while accepting, as material evidence for
‘preliminary proceedings, from a STAR truck, registration number SWL 7916, of a
cargo of detained and secured cigarettes originating from smuggling, acting jointly and
in co-operation with other identified persons, he took, for the purpose of appropriation,
at least 1,000 cartons, containing 10 packets each, of GOLDEN AMERICAN,

/ MARLBORO, HB and other cigarettes, with a value of at least PLN 28,000, and then
he helped with their transportation from the territory of the District Police

#. Headquarters in Augustow and their resale to Jan Haraburda for the amount of

- approximately PLN 20,000, paid in German marks and in Polish zloty, thus acting to

' the detriment of the State Treasury,

   
 

+ the above is classified as an offence in Article 278 paragraph 1 of the Penal Code.

In particular, the following materials indicate that the suspect is guilty of the
commitment of the acts he was charged with:

Number 1 - minutes on cross-examination as a suspect of Wiestaw Jan
Koziowski, dated 16 December 1995, and of 18 December 1995. In his testimony,
Wiestaw Jan Koztowski pleaded guilty of the commitment of the acts he was charged.
with and he stated that on 26 July 1995, at 3.00 p.m., acting together with Wtodzimierz
Iwanow, he started his duty hours at the District Police Headquarters in Augustéw. -
Starting at 10.00 p.m., he was on home duty. According to the explanation of the

“suspect, at night, at about 2.00 a.m., at the request of the officer on duty, he reported at
the Police Headquarters in order to inspect a STAR truck which was carrying
cigarettes originating from smuggling. The truck was parked in the manoeuvre field of
the Police Headquarters. To perform the aforementioned activity, in addition to
Wiestaw Jan Koztowski, also Wiodzimierz Iwanow and Mirostaw Kopeé were called.
The aforementioned police officers carried cigarettes from the said truck to a business
garage number 8. At some point, while unloading the truck, Wtodzimierz Iwanow
suggested that some of the secured cigarettes might be sold. Wiestaw Jan Koztowski
and Mirostaw Kopeé agreed to this suggestion. According to the testimony of the
suspect, it was agreed that the cigarettes would be first carried to a Polonez belonging
to Wiestaw Jan Koztowski, and then Wtodzimierz Iwanow would transport them from
the territory of the Headquarters and sell to a receiver. In total, the aforementioned
person loaded about 1,000 cartons of Golden American and HB cigarettes in the
Polonez. Some of the money obtained from the sale of the cigarettes was handed over

‘by Wtodzimierz Iwanow to Wiestaw Jan Koztowski.

 

 
 

 

WARRAGUL, Page SOD Pawelp: 37

f evening, he was in the premises of the District Police Headquarters in Augustéw. At

F some point he noticed that a Star truck was parked at business garage number 9. The
following officers were inside the garage: Waldemar Lewkiewicz, Tadeusz

| Dzieniszewski, Zenon Szamatowicz, Leon Ciemny and the driver - Adam Zedelo.
During a conversation he held with them, he found out that in the Star there were
® cigarettes originating from smuggling. At some point, Wiodzimierz Iwanow came to
¢ garage number 9 in his Volkswagen Jetta. According to the testimony of the suspect,

} during the unloading of the Star, someone suggested that it was possible to sell some

f of the secured cigarettes. After taking Adam Zedelo to the building of the Police

| Headquarters, Wiestaw Jan Koztowski, Zenon Szamatowicz, Leon Ciemny and

£ Tadeusz Dzieniszewski started to carry the cigarettes from the truck to the

. Volkswagen of Wtodzimierz Iwanow. In total, the aforementioned persons carried
approximately 700 cartons of Marlboro, Golden American and HB cigarettes. After
loading his car, Wtodzimierz Iwanow went to a receiver in order to sell the cigarettes,
In total, he made three rounds. Each time he carried 5 or 6 bags with cigarettes. A fter
the last round, he brought the money and gave each of the aforementioned officers
2,000 German marks (pages from 61 to 68).

Number 2 - minutes on cross-examination as a suspect of Wiodzimierz
Iwanow, dated 16 December 1995. According to the testimony of this suspect, on 27
July 1995, the officer on duty of the District Police Headquarters in Augustéw told
him to report at the Police Headquarters in order to inspect a STAR truck which was
carrying cigarettes originating from smuggling. After arriving at the Police
Headquarters, Wtodzimierz Iwanow met Wiestaw Jan Koztowski. During a
conversation, the latter suggested that some of the seized cigaretted could be sold “on

‘the side”. The two men went to a business garage number 8 or 9, where the Star truck
with the cigarettes was parked. This is where Mirostaw Kopeé already waited for
them. The trick with the cigarettes was parked with its back to the garage, anda
Polonez car of Wiestaw Jan Koztowski was parked next to it. All the participants in
the event, including Wiestaw Jan Koztowski, carried cigarettes from the Star to the
aforementioned car. In total, the aforementioned persons carried 5 bags of cigarettes.
After loading the Polonez, Wtodzimierz Iwanow went to a receiver, Jan Haraburda, in
order to sell the cigarettes. In total, he made two rounds. The money obtained from the
sale was divided among the aforementioned persons.

Moreover, Wtodzimierz Iwanow testified that on 3 September 1995, Wiestaw
Jan Koztowski came to his apartment and said that Zenon Szamatowicz and Leon
Ciemny detained a truck carrying cigarettes originating from smuggling. According to
the testimony of the suspect, Wiestaw Jan Koztowski allegedly stated that he had
agreed with Zeonon Szamatowicz that a part of the cigarettes could be sold “on the

- Side”. After arriving at the Police Headquarters in Augustéw, Wtodzimierz Iwanow
met Zenon Szamatowicz, Leon Ciemny and Wiestaw Jan Kozlowski.

 

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t The aforementioned persons agreed that they would carry the seized cigarettes from
i the premises of the Police Headquarters and would sell them to a receiver, Jan

© Haraburda. After this conversation, the aforementioned persons started to reload the
cigarettes from the Star to a private car of Wiodzimierz Iwanow. After loading his car,
- Whodzimierz Iwanow went to the receiver in order to sell the cigarettes. In total, he
made two rounds. The money obtained from the sale was divided by Wtodzimierz

- Twanow among the partners (pages from 44 to 47).

 

Number 3 - minutes on cross-examination as a suspect of Tadeusz

Dzieniszewski, dated 16 December 1995 and 18 December 1995. According to the
testimony of this suspect, at the beginning of September 1995 (he does not remember
an exact date), an officer on duty of the District Police Headquarters in August6w
instructed him and Waldemar Lewkiewicz to perform an inspection of a Star truck
carrying cigarettes originating from smuggling. The truck was in the premises of the
' Police Headquarters. The inspection of the truck was also participated in by the

’ following officers: Leon Ciemny and Zenon Szamatowicz. According to the suspect,
at some point, during the unloading of the Star, Wiestaw Jan Koztowski and
Wtodzimierz Iwanow came to the storeroom. Wiestaw Jan Koztowski suggested that
some of the cigarettes could be transported from the Police Headquarters and sold to a
receiver. The idea of Wiestaw Jan Koztowski was approved by the other officers, and
therefore, Wiodzimierz Iwanow came to the storeroom in his Volkswagen Jetta and
they started to load his car. The cigarettes were carried by, among others, Wiestaw Jan
Koztowski and Wtodzimierz Iwanow. At that time Waldemar Lewkiewicz went to the
building of the Police Headquarters. After loading his car, Wiodzimierz Iwanow went
to the receiver twice in order to sell the cigarettes.

Number 4 - minutes on cross-examination as a suspect of Leon Ciemny, dated

18 December 1995. According to the testimony of the suspect, on 3 September 1995,
in the afternoon, he was at the premises of the District Police Headquarters in

- Augustow. There, during a conversation with Wiestaw Jan Koztowski, Wiodzimnierz
Iwanow, Waldemar Lewkiewicz, Tadeusz Dzieniszewski and Zenon Szamatowicz, a
suggestion was made to sell “on the side” some of cigarettes originating from
smuggling which were in a seized Star truck. According to the testimony of the
suspect, the cigarettes were carried from the premises of the Police Headquarters by
Whodzimierz Iwanow in a Volkswagen Jetta (paged number from 98 to 99).

The offences which Wiestaw Jan Koztowski was charged with are threatened with a
penalty of imprisonment for a period of 3 months to 5 years.

 
 

 

 

 
 

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j Statute of limitation with regard to the offences which Wiestaw Jan Koztowski was

§ charged with is as follows: .

# . for the offence described in point I of the decision on an amendment to the decision |
€ on submission of charges, dated 26 August 2003 - 27 July 2015

| _ for the offence described in point II of the decision on an amendment to the decision
= on submission of charges, dated 26 August 2003 - 3 September 2015.

The investigation concerned has not been completed so far, because not all
3 procedural activities with the participation of the suspect, Wiestaw Jan Koztowski, has
? been completed, as he has been hiding from the prosecuting authorities since 1996.

Since 5 March 1996, Wiestaw Jan Koztowski has been searched for by means
of a wanted letter in the matter concerning the aforementioned theft.

The search conducted in this matter has not brought about any positive results.

In the course of the search for Wiestaw Jan Koztowski, it was established that
-the suspect does not reside at the place of his permanent residence, and no other place
of his residence in Poland has been identified.

Based on the findings of the present matter, at the request of the Circuit
Prosecutor’s Office in Suwatki, the District Court in Suwatki, by means of its decision
of 12 March 2004 (case ref. no. II Kp 112/04), applied a preventive measure against
Wiestaw Jan Koztowski in the form of temporary detention. Then, a wanted letter was
circulated, and an international search was commenced.

Temporary detention of a suspect and search for him by means of a wanted
letter may, according to the wording of Articles 258 and 279 of the Penal Proceedings
Code, take place if, inter alia, the suspect hides or has no permanent address of
residence in Poland.

_ Both of these circumstances apply to the suspect, Wiestaw Jan Koztowski.

The search for Wiestaw Jan Koztowski conducted so far, both in Poland and
internationally, has nor been effective.

 
 
  

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F Republic of Poland in New York, dated 31 October 2005, the suspect, Wieslaw Jan
F Kozlowski, resides in that city at the following address: 154 Palisade Avenue Apt 1 A

| Garfield NJ 07026.

In addition, I would like to add that the fingerprints of the aforementioned
i person have not been taken in the territory of the Republic of Poland so far.

With a view to the aforementioned circumstances, I apply for temporary
detention and extradition of the suspect.

{n addition, I declare that the wording of this request is consistent with the
evidence material gathered in the matter.

Moreover, I assure that Wiestaw Jan Koztowski shall not be held liable, without
the consent of the relevant authorities of the United States of America, for any
offences which are not covered by this request and he shall not be handed over to the
authorities of any other state.

Please find the following documents attached to this request:

1) a certified copy of a decision of the District Court in Suwatki, dated 12 March 2004,
"for temporary detention;

2) a certified copy of a decision of the Circuit Prosecutor’s Office in Suwalki, dated 23

March 2004, ordering a search for the suspect by means of a wanted letter, and of a

wanted letter;

3) a copy of the suspect’s photograph;

4) an extract from the provisions of the Penal Code.

CIRCUIT PROSECUTOR

 

[signature illegible]
HANNA LEWCZUK

[Round seal with the Polish State Emblem and the inscription:
- “Circuit Prosecutor’s Office in Suwatki, 1” ]

 

J, the undersigned, Katarzyna Pawlak, a Sworn Translator of English in Warsaw, entered in the list of Sworn Translators,
kept by the Minister of Justice, entry no. TP/4657/05, hereby certify that the attached translation is a true and correct
translation of the document submitted to me in Polish.

Warsaw, date: 14 April 2010

Register No. 282/2010

Fee of PLN 390.91 collected for 13 standard pages according to the binding regulations.

  
 

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AF Ratatayhé Pawlak, M.A.

pe "Sworn. Translator

     

 
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CERTIFIED TRANSLATION FROM POLISH

 

 

 

 

 

 

 

 

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v Ds. 37/96/S

DECISION
on an amendment to the decision on submission of charges

Suwatki, 26 August 2003

JOZEF MURAWKO - Prosecutor at the Circuit Prosecutor’s Office in Suwatki, taking into
consideration the data gathered in the matter against WIESLAW JAN KOZLOWSKI,

acting pursuant to Article 313 paragraphs 1 and 2 of the Penal Proceedings Code, Article 314
of the Penal Proceedings Code and Article 325a of the Penal Proceedings Code,

hereby decides:

-to amend a decision on submission of charges to WIESLAW JAN KOZLOWSKI, issued
onl December 1995, supplemented by a decision issued on 18 December 1995, and submit
| to the aforementioned suspect the following charges:

I. On 27 July 1995, while serving as a Police officer in the territory of the District Police
Headquarters in Augustow, while accepting, as material evidence for preliminary
proceedings, from a STAR truck, registration number TYC 3541, of a cargo of detained and
secured cigarettes originating from smuggling, acting jointly and in co-operation with other
"identified persons, he took, for the purpose of appropriation, at least 1,000 cartons, containing
10 packets each, of “Golden American”, “7B” and other cigarettes, with a value of at least
PLN 28,000, and then he helped with their transportation from the territory of the District
Police Headquarters in August6w and their resale to Jan Haraburda for the amount of PLN

10,000, thus acting to the detriment of the State Treasury,

the above is classified as an offence in Article 278 paragraph 1 of the Penal Code.

[Stamp:]
Certified to be a true copy
of the original

by

[Stamp:] |

Prosecutor of the Circuit Prosecutor’s Office
in Suwatki

[signature illegible]

Cezary T. Grabala

[Round seal with the Polish State Emblem and the inscription:
“Circuit Prosecutor's Office in Suwatki, 1”.]

 

 

 

 
 

 

BSE ZA4:T1-0R 275 IBGROORUMRHEAT 71 FURLAWRBAA Rage 48 of 40 Ranalp:2s6

+ yy, On 3 September 1995, while serving as a Police officer in the territory of the District
4 Police Headquarters in Augustow, while accepting, as material evidence for preliminary

proceedings, from 4 STAR truck, registration number SWL 7916, of a cargo of detained and
secured cigarettes originating from smuggling, acting jointly and in co-operation with other
;dentified persons, he took, for the purpose of appropriation, at least 1,000 cartons, containing
10 packets each, of “Golden American”, “Marlboro”, “HB” and other cigarettes, with a value
of at least PLN 28,000, and then he helped with their transportation from the territory of the
District Police Headquarters in Augustéw and their resale to Jan Haraburda for the amount of
approximately PLN 20,000, paid in German marks and in Polish zloty, thus acting to the
detriment of the State Treasury, *

the above is classified as an offence in Article 278 paragraph 1 of the Penal Code.

Rectangular stamp reading:
HEAD
OF THE INVESTIGATION DIVISION
OF THE CIRCUIT PROSECUTOR’S OFFICE IN SUWALKI
Jézef Murawko
/-/ signature illegible

[Stamp:]

Certified to be a true copy
of the original
by
[Stamp:]
Prosecutor of the Circuit Prosecutor’s Office
in Suwatki
[signature illegible]

Cezary T. Grabala

. [Round seal with the Polish State Emblem and the inscription:

“Circuit Prosecutor’s Office in Suwatki, 1”.]

 

I, the undersigned, Katarzyna Pawlak, a Sworn Translator of English in Warsaw, entered in the list of Sworn Translators,
kept by the Minister of Justice, entry no. TP/4657/05, hereby certify that the attached translation is a true and correct
translation of the document submitted to me in Polish.

Warsaw, date: 14 April 2010

Register No. 283/2010

Fee of PLN 90.21 collected for 3 standard pages according to the binding regulations.

 

 
